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   6                                          NOTE CHANGES MADE BY THE COURT
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   9
                             UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11
       GOLD VALUE INTERNATIONAL                     Case No.: 2:19-cv-09603-CBM-AGR
  12   TEXTILE, INC.,                               Hon. Consuelo B. Marshall Presiding
  13
                                                    Referred to Hon. Alicia G. Rosenberg
       Plaintiff,
  14                                                DISCOVERY MATTER
  15
       vs.
                                                    ORDER TO STIPULATED
  16   EDGEMINE, INC.; et al.,                      PROTECTIVE ORDER
  17
       Defendants.                                  NOTE CHANGES MADE BY THE
  18                                                COURT

  19      1. INTRODUCTION
  20            a. Purposes and Limitations
  21         Discovery in this action is likely to involve production of confidential,
  22   proprietary, or private information for which special protection from public
  23   disclosure and from use for any purpose other than prosecuting this litigation may be
  24   warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
  25   the following Stipulated Protective Order. The parties acknowledge that this order
  26   does not confer blanket protections on all disclosures or responses to discovery and
  27   that the protection it affords from public disclosures and use extends only to the
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                                          PROTECTIVE ORDER
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   1   limited information or items that are entitled to confidential treatment under the
   2   applicable legal principles. The parties further acknowledge, as set forth in Section
   3   12(c), below, that this Stipulated Protective Order does not entitle them to file
   4   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
   5   that must be followed and the standards that will be applied when a party seeks
   6   permission from the Court to file material under seal.
   7             b. Good Cause Statement
   8         This action is likely to involve trade secrets, customer and pricing lists and
   9   other valuable research, development, commercial, financial, technical and/or
  10   proprietary information for which special protection from public disclosure and from
  11   use for any purpose other than prosecution of this action is warranted. Such
  12   confidential and proprietary materials and information consist of, among other things,
  13   confidential business or financial information, information regarding confidential
  14   business practices, or other confidential research, development, or commercial
  15   information (including information implicating privacy rights of third parties),
  16   information otherwise generally unavailable to the public, or which may be
  17   privileged or otherwise protected from disclosure under state or federal statutes, court
  18   rules, case decisions, or common law.
  19         Moreover, there is good cause for a two-tiered or attorneys-eyes-only
  20   designation inclusion in this protective order as certain of the Parties are suppliers,
  21   customers and/or competitors of one another and discovery will include sourcing
  22   information, wholesale prices, product mark-up, overhead, customers, vendors,
  23   manufacturing and other sourcing information and confidential and non-public
  24   financial and business information that the parties would reasonably protect from
  25   customers and/or competitors.
  26         Accordingly, to expedite the flow of information, to facilitate the prompt
  27   resolution of disputes over confidentiality of discovery materials, to adequately
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                                           PROTECTIVE ORDER
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   1   protect information the parties are entitled to keep confidential, to ensure that the
   2   parties are permitted reasonable and necessary uses of such material in preparation
   3   for and in the conduct of trial, to address their handling at the end of the litigation,
   4   and to serve the ends of justice, a protective order for such information is justified in
   5   this matter. It is the intent of the parties that information will not be designated as
   6   confidential for tactical reasons and that nothing be so designated without a good
   7   faith belief that it has been maintained in a confidential, non-public manner, and there
   8   is good cause why it should not be part of the public record of this case.
   9
             The parties acknowledge that this Stipulated Protective Order does not confer

  10
       blanket protections on all disclosures or responses to discovery and that the

  11
       protection it affords from public disclosure and use extends only to the limited

  12
       information or items that are entitled to confidential treatment under the applicable

  13
       legal principles. Nothing herein shall prevent any Party from withholding or

  14
       redacting any documents and/or information that the Party deems privileged,

  15
       irrelevant, or otherwise objectionable.

  16
             Nothing in this Stipulated Protective Order shall be deemed in any way to

  17   restrict the use of documents or information which are lawfully obtained or publicly

  18   available to a party independently of discovery in this Action, whether or not the

  19   same material has been obtained during the course of discovery in the Action and

  20   whether or not such documents or information have been designated hereunder.

  21   However, in the event of a dispute regarding such independent acquisition, a party

  22   wishing to use any independently acquired documents or information shall bear the

  23   burden of proving independent acquisition.
  24      2. DEFINITIONS
  25             a. Action: Gold Value International Textile, Inc. v. Edgemine, Inc., et al.,
  26   Case No.: 2:19-cv-09603-CBM-AGR.
  27

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   1             b. Challenging Party: a Party or Non-Party that challenges the designation
   2   of information or items under this Order.
   3             c. “CONFIDENTIAL” Information or Items: information (regardless of
   4   how it is generated, stored, or maintained) or tangible things that qualify for
   5   protection under Federal Rule of Civil Procedure 26(c), and as specified about in the
   6   Good Cause Statement.
   7             d. “HIGHLY CONFIDENTIAL”—ATTORNEYS’ EYES ONLY”
   8   Information or Items: extremely sensitive “CONFIDENTIAL” Information or Items,
   9   the disclosure of which to another Party or Non-Party would create a substantial risk
  10   of serious harm that could not be avoided by less restrictive means.
  11             e. Consultant: A person, including non-party expert and/or consultant,
  12   retained or employed by Counsel to assist in the preparation of the case, to the extent
  13   that they are reasonably necessary to render professional services in this Action, and
  14   subject to the disclosure requirements within this Stipulated Protective Order.
  15             f. Counsel: Outside Counsel of Record and House Counsel (as well as their
  16   support staff).
  17             g. Designating Party: a Party or Non-Party that designates information or
  18   items that it produces in disclosures or in responses to discovery as
  19   “CONFIDENTIAL or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
  20   ONLY.”
  21             h. Disclosure or Discovery Material: all items or information, regardless of
  22   the medium or manner in which it is generated, stored, or maintained (including,
  23   among other things, testimony, transcripts, and tangible things), that are produced or
  24   generated in disclosures or responses to discovery in this matter.
  25             i. Expert: a person with specialized knowledge or experience in a matter
  26   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  27   an expert witness or as a consultant in this Action.
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                                          PROTECTIVE ORDER
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   1              j. House Counsel: attorneys who are employees of a party to this Action.
   2   House Counsel does not include Outside Counsel of Record or any other outside
   3   counsel.
   4              k. Non-Party: any natural person, partnership, corporation, association, or
   5   other legal entity not named as a Party to this action.
   6              l. Outside Counsel of Record: attorneys who are not employees of a party
   7   to this Action but are retained to represent or advise a party to this Action and have
   8   appeared in this Action on behalf of that party or are affiliated with a law firm which
   9   has appeared on behalf of that party, and includes support staff.
  10              m. Party: any party to this Action, including all of its officers, directors,
  11   employees, consultants, retained experts, and Outside Counsel of Record (and their
  12   support staffs).
  13              n. Producing Party: a Party or Non-party that produces Disclosure or
  14   Discovery Material in this Action.
  15              o. Professional Vendors: persons or entities that provide litigation support
  16   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  17   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  18   and their employees and subcontractors.
  19              p. Protected Material: any Disclosure or Discovery Material that is
  20   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’
  21   EYES ONLY.”
  22              q. Receiving Party: a Party that receives Disclosure or Discovery Material
  23   from a Producing Party
  24      3. SCOPE
  25         The protections conferred by this Stipulation and Order cover not only
  26   Protected Material (as defined above), but also (1) any information copied or
  27   extracted from Protected Material; (2) all copies, excerpts, summaries, or
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   1   compilations of Protected Material; and (3) any testimony, conversations, or
   2   presentations by Parties or their Counsel that might reveal Protected Material.
   3         Any use of Protected Material at trial will be governed by the orders of the trial
   4   judge. This Order does not govern the use of Protected Material at trial.
   5      4. DURATION
   6         Even after final disposition of this litigation, the confidentiality obligations
   7   imposed by this Order will remain in effect until a Designating Party agrees
   8   otherwise in writing or a court order otherwise directs. Final disposition will be
   9   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  10   or without prejudice; and (2) final judgment herein after the completion and
  11   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  12   including the time limits for filing any motions or applications for extension of time
  13   pursuant to applicable law.
  14
             The use of Designated Materials at depositions or trial does not void the

  15
       documents’ status as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

  16
       ATTORNEYS’ EYES ONLY” material or void the restrictions on the use of the

  17
       Designated Materials. Upon request of a party, the parties shall meet and confer

  18
       concerning the use and protection of Designated Material in open court at any

  19
       hearing.

  20
             At deposition, the party using Designated Material must request that the

  21
       portion of the proceeding where use is made be conducted so as to exclude persons

  22   not qualified to receive such Designated Material.

  23         At trial, the party using Designated Material must request that the portion of

  24   the proceeding where use is made be conducted so as to exclude persons not qualified

  25   to receive such Designated Material.

  26         Prior to the pretrial conference, the parties shall meet and confer concerning

  27   appropriate methods for dealing with Designated Material at trial.

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   1      5. DESIGNATED PROTECTED MATERIAL
   2             a. Exercise of Restraint and Care in Designating Material for Protection.
   3   Each Party or Non-Party that designates information or items for protection under this
   4   Order must take care to limit any such designation to specific material that qualifies
   5   under the appropriate standards. The Designating Party must designate for protection
   6   only those parts of material, documents, items, or oral or written communications that
   7   qualify so that other portions of the material, documents, items, or communications
   8   for which protection is not warranted are not swept unjustifiably within the ambit of
   9   this Order.
  10          Mass, indiscriminate, or routinized designations are prohibited. Designations
  11   that are shown to be clearly unjustified or that have been made for an improper
  12   purpose (e.g., to unnecessarily encumber the case development process or to impose
  13   unnecessary expenses and burdens on other parties) may expose the Designating
  14   Party to sanctions.
  15          If it comes to a Designating Party’s attention that information or items that it
  16   designated for protection do not qualify for protection, that Designating Party must
  17   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  18             b. Manner and Timing of Designations.
  19          Except as otherwise provided in this Order (see, e.g., second paragraph of
  20   section 5(b)(i) below), or as otherwise stipulated or ordered, Disclosure or Discovery
  21   Material that qualifies for protection under this Order must be clearly so designated
  22   before the material is disclosed or produced. Designation in conformity with this
  23   order requires:
  24
                         1. for information in documentary form (e.g., paper or electronic
  25
       documents, but excluding transcripts of depositions or other pretrial or trial
  26
       proceedings), that the Producing Party affix at a minimum, the legend
  27
       “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–ATTORNEYS’ EYES
  28
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                                           PROTECTIVE ORDER
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   1
       ONLY” to each page that contains protected material. If only a portion or portions of

   2
       the material on a page qualifies for protection, the Producing Party also must clearly

   3
       identify the protected portion(s) (e.g., by making appropriate markings in the

   4
       margins).

   5
                       A Party or Non-Party that makes original documents available for

   6
       inspection need not designate them for protection until after the inspecting Party has

   7
       indicated which documents it would like copied and produced. During the inspection

   8
       and before the designation, all of the material made available for inspection will be

   9   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents

  10   it wants copied and produced, the Producing Party must determine which documents,

  11   or portions thereof, qualify for protection under this Order. Then, before producing

  12   the specified documents, the Producing Party must affix the legend

  13   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–ATTORNEYS’ EYES

  14   ONLY” to each page that contains Protected Material. If only a portion or portions of

  15   the material on a page qualifies for protection, the Producing Party also must clearly

  16   identify the protected portion(s) (e.g., by making appropriate markings in the
  17   margins).
  18                   2. for testimony given in depositions, that the Designating Party
  19   identify the Disclosure or Discovery Material on the record, before the close of the
  20   deposition all protected testimony.
  21
                       3. for information produced in some form other than documentary
  22
       and for any other tangible items, that the Producing Party affix in a prominent place
  23
       on the exterior of the container or containers in which the information is stored the
  24
       legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  25
       ONLY. If only a portion or portions of the information warrants protection, the
  26
       Producing Party, to the extent practicable, will identify the protected portion(s).
  27

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   1
                 c. Inadvertent Failures to Designate. If timely corrected, an inadvertent

   2
       failure to designate qualified information or items does not, standing alone, waive the

   3
       Designating Party’s right to secure protection under this Order for such material.

   4
       Upon timely correction of a designation, the Receiving Party must make reasonable

   5
       efforts to assure that the material is treated in accordance with the provisions of this

   6
       Order. Within five (5) business days of receipt of the substitute copies, the receiving

   7
       party shall return the previously unmarked or mismarked items and all copies thereof.

   8
       If the parties do not collectively agree to replacement of the Designated Material, the

   9   producing party shall comply with the procedure of Local Rule 37 in seeking

  10   protection for the inadvertently produced material.

  11             d. Copies. All complete or partial copies of a document that disclose
  12   Designated Materials shall be subject to the terms of this Stipulated Protective Order.
  13
                 e. Unless and until otherwise ordered by the Court or agreed to in writing
  14
       by the parties, all Designated Materials designated under this Stipulated Protective
  15
       Order shall be used by the parties and persons receiving such Designated Materials
  16
       solely for conducting the above-captioned litigation and any appellate proceeding
  17
       relating thereto. Designated Material shall not be used by any party or person
  18
       receiving them for any business or any other purpose. No party or person shall
  19
       disclose Designated Material to any other party or person not entitled to receive such
  20
       Designated Material under the specific terms of this Stipulated Protective Order. For
  21
       purposes of this Stipulated Protective Order, “disclose” or “disclosed” means to
  22
       show, furnish, reveal or provide, indirectly or directly, any portion of the Designated
  23
       Material or its contents, orally or in writing, including the original or any copy of the
  24
       Designated Material.
  25

  26

  27
       ///
  28
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   1      6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
   2                a. Timing of Challenges. Any Party or Non-Party may challenge a
   3   designation of confidentiality at any time that is consistent with the Court’s
   4   Scheduling Order.
   5                b. Meet & Confer. The Challenging Party will initiate the dispute
   6   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
   7   et seq.
   8                c. The burden of persuasion in any such challenge proceeding will be on
   9   the Designating Party. Frivolous challenges, and those made for an improper purpose
  10   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  11   expose the Challenging Party to sanctions. Unless the Designating Party has waived
  12   or withdrawn the confidentiality designation, all parties will continue to afford the
  13   material in question the level of protection to which it is entitled under the Producing
  14   Party’s designation until the Court rules on the challenge.
  15      7. ACCESS TO AND USE OF PROTECTED MATERIAL
  16                a. Basic Principles. A Receiving Party may use Protected Material that is
  17   disclosed or produced by another Party or by a Non-Party in connection with this
  18   Action only for prosecuting, defending, or attempting to settle this Action. Such
  19   Protected Material may be disclosed only to the categories of persons and under the
  20   conditions described in this Order. When the Action has been terminated, a Receiving
  21   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
  22             Protected Material must be stored and maintained by a Receiving Party at a
  23   location and in a secure manner that ensures that access is limited to the persons
  24   authorized under this Order.
  25                b. Disclosure of “CONFIDENTIAL” Information or Items.
  26

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   1         Unless otherwise ordered by the Court or permitted in writing by the
   2   Designating Party, a Receiving Party may disclose any information or item
   3   designated “CONFIDENTIAL” only to:
   4                   1. The Receiving Party’s Outside Counsel of Record in this Action,
   5   as well as employees of said Outside Counsel of Record to whom it is reasonably
   6   necessary to disclose the information for this Action;
   7                   2. The officers, directors, and employees (including House Counsel)
   8   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
   9                   3. Experts (as defined in this Order) of the Receiving Party to whom
  10   disclosure is reasonably necessary for this Action and who have signed the
  11   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  12                   4. The Court and its personnel;
  13                   5. Court reporters and their staff;
  14                   6. Professional jury or trial consultants, mock jurors, and
  15   Professional Vendors to whom disclosure is reasonably necessary for this Action and
  16   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  17                   7. The Author or recipient of a document containing the information
  18   or a custodian or other person who otherwise possessed or knew the information;
  19                   8. During their depositions, witnesses, and attorneys for witnesses,
  20   in the Action to whom disclosure is reasonably necessary, provided: (1) the deposing
  21   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
  22   they will not be permitted to keep any confidential information unless they sign the
  23   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  24   agreed by the Designating Party or ordered by the Court. Pages of transcribed
  25   deposition testimony or exhibits to depositions that reveal Protected Material may be
  26   separately bound by the court reporter and may not be disclosed to anyone except as
  27   permitted under this Stipulated Protective Order; and
  28
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   1                     9. Any mediator or settlement officer, and their supporting
   2   personnel, mutually agreed upon by any of the parties engaged in settlement
   3   discussions.
   4            c. Disclosure of “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
   5                  ONLY” Information or Items.
   6         Unless otherwise ordered by the Court or permitted in writing by the
   7   Designating Party, a Receiving Party may disclose any information or item
   8   designated “HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY” only to:
   9                     1. The Receiving Party’s Outside Counsel of Record in this Action,
  10   as well as employees of said Outside Counsel of Record to whom it is reasonably
  11   necessary to disclose the information for this Action;
  12                     2. Experts (as defined in this Order) of the Receiving Party to whom
  13   disclosure is reasonably necessary for this Action and who have signed the
  14   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  15                     3. The Court and its personnel;
  16                     4. Court reporters and their staff;
  17                     5. Professional jury or trial consultants, mock jurors, and
  18   Professional Vendors to whom disclosure is reasonably necessary for this Action and
  19   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  20                     6. The Author or recipient of a document containing the information
  21   or a custodian or other person who otherwise possessed or knew the information;
  22                     7. Any mediator or settlement officer, and their supporting
  23   personnel, mutually agreed upon by any of the parties engaged in settlement
  24   discussions.
  25            d. Use of Designated Materials by Designating Party. Nothing in this
  26                  Stipulated Protective Order shall limit a Designating Party’s use of its
  27                  own information or materials, or prevent a Designating Party from
  28
                                                   - 12 -

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   1                disclosing its own information or materials to any person. Such
   2                disclosure shall not affect any designations made pursuant to the terms
   3                of this Stipulated Protective Order, so long as the disclosure is made in a
   4                manner that is reasonably calculated to maintain the confidentiality of
   5                the information.
   6      8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
   7         OTHER LITIGATION
   8         If a Party is served with a subpoena or a court order issued in other litigation
   9   that compels disclosure of any information or items designated in this Action as
  10   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
  11   ONLY,” that Party must:
  12             a. Promptly notify in writing the Designating Party. Such notification will
  13   include a copy of the subpoena or court order;
  14             b. Promptly notify in writing the party who caused the subpoena or order to
  15   issue in the other litigation that some or all of the material covered by the subpoena
  16   or order is subject to this Protective Order. Such notification will include a copy of
  17   this Stipulated Protective Order; and
  18
                 c. Cooperate with respect to all reasonable procedures sought to be pursued

  19
       by the Designating Party whose Protected Material may be affected.

  20
             If the Designating Party timely seeks a protective order, the Party served with

  21
       the subpoena or court order will not produce any information designated in this

  22
       action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’

  23
       EYES ONLY” before a determination by the court from which the subpoena or order

  24
       issued, unless the Party has obtained the Designating Party’s permission. The

  25
       Designating Party will bear the burden and expense of seeking protection in that

  26   court of its confidential material and nothing in these provisions should be construed

  27   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful

  28   directive from another court.
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   1
          9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

   2
             PRODUCED IN THIS LITIGATION

   3
                 a. The terms of this Order are applicable to information produced by a

   4
       Non-Party in this Action and designated as “CONFIDENTIAL.” Such information

   5
       produced by Non-Parties in connection with this litigation is protected by the

   6
       remedies and relief provided by this Order. Nothing in these provisions should be

   7
       construed as prohibiting a Non-Party from seeking additional protections.

   8
                 b. In the Event that a Party is required, by a valid discovery request, to

   9   produce a Non-Party’s confidential information in its possession, and the Party is

  10   subject to an agreement with the Non-Party not to produce the Non-Party’s

  11   confidential information, then the Party will:

  12                   1. Promptly notify in writing the Requesting Party and the Non-

  13   Party that some or all of the information requested is subject to a confidentiality

  14   agreement with a Non-Party;

  15                   2. Promptly provide the Non-Party with a copy of the Stipulated

  16   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  17   specific description of the information requested and
  18                   3. Make the information requested available for inspection by the
  19   Non-Party, if requested.
  20             c. If the Non-Party fails to seek a protective order from this Court within
  21   14 days of receiving the notice and accompanying information, the Receiving Party
  22   may produce the Non-Party’s confidential information responsive to the discovery
  23   request. If the Non-Party timely seeks a protective order, the Receiving Party will not
  24   produce any information in its possession or control that is subject to the
  25   confidentiality agreement with the Non-Party before a determination by the Court.
  26   Absent a court order to the contrary, the Non-Party will bear the burden and expense
  27   of seeking protection in this Court of its Protected Material.
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                                          PROTECTIVE ORDER
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   1
          10.UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

   2
             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

   3
       Protected Material to any person or in any circumstance not authorized under this

   4
       Stipulated Protective Order, the Receiving Party must immediately (a) notify in

   5
       writing the Designating Party of the unauthorized disclosures, (b) use its best efforts

   6
       to retrieve all unauthorized copies of the Protected Material, (c) inform the person or

   7
       persons to whom unauthorized disclosures were made of all the terms of this Order,

   8
       and (d) request such person or persons to execute the “Acknowledgment and

   9   Agreement to Be Bound” that is attached hereto as Exhibit A.

  10      11.INADVERTANT PRODUCTION OF PRIVILEGED OR OTHERWISE
  11         PROTECTED MATERIAL
  12         Any inadvertent production of documents containing privileged information
  13   shall not be deemed to be a waiver of the attorney-client privilege, work product
  14   doctrine, or any other applicable privilege or doctrines. All parties specifically
  15   reserve the right to demand the return of any privileged documents that it may
  16   produce inadvertently during discovery if the producing party determines that such
  17   documents contain privileged information. After receiving notice of such inadvertent
  18   production by the producing party, the receiving party, within five (5) business days
  19   of receiving any such notice, agrees to locate and return to the producing party all
  20   such inadvertently produced documents, or certify the destruction thereof.
  21
          12.MISCELLANEOUS
  22
                 a. Right to Further Relief. Nothing in this Order abridges the right of any
  23
       person to seek its modification by the Court in the future.
  24

  25             b. Right to assert other Objections. By stipulating to the entry of this
  26   Protective Order, no Party waives any right it otherwise would have to object to
  27   disclosing or producing any information or item on any ground not addressed in this
  28
                                                 - 15 -

                                          PROTECTIVE ORDER
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   1
       Stipulated Protective Order. Similarly, no Party waives any right to object on any

   2
       ground to use in evidence of any of the material covered by this Protective Order.

   3             c. Filing Protected Material. A Party that seeks to file under seal any
   4   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   5   only be filed under seal pursuant to a court order authorizing the sealing of the
   6   specific Protected Material at issue. If a Party’s request to file Protected Material
   7   under seal is denied by the Court, then the Receiving Party may file the information
   8   in the public record unless otherwise instructed by the Court. If a filing party fails to
   9   seek to file under seal items which a party in good faith believes to have been
  10   designated as or to constitute “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  11   ATTORNEYS’ EYES ONLY” material, such party may move the Court to file said
  12   information under seal within four (4) days of service of the original filing. Notice of
  13   such designation shall be given to all parties. Nothing in this provision relieves a
  14   party of liability for damages caused by failure to properly seek the filing of
  15   Designated Material under seal in accordance with Local Rule 79-5.2.2. Filing the
  16   document under seal shall not bar any party from unrestricted use or dissemination of
  17   those portions of the document that do not contain material designated
  18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  19   ONLY.”
  20
                 d. Unless the parties stipulate otherwise, evidence of the existence or
  21
       nonexistence of a designation under this Stipulated Protective Order shall not be
  22
       admissible for any purpose during any proceeding on the merits of this ActioN.
  23

  24             e. By stipulating to the entry of this Stipulated Protective Order no Party
  25   waives any right it otherwise would have to object to disclosing or producing any
  26   information or item on any ground not addressed in this Stipulated Protective Order.
  27   Similarly, no Party waives any right to object on any ground to use in evidence any
  28
                                                  - 16 -

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   1
       of the material covered by this Stipulated Protective Order. Moreover, this Stipulated

   2
       Protective Order shall not preclude or limit any Party’s right to seek further and

   3
       additional protection against or limitation upon production of documents produced in

   4
       response to discovery. The parties reserve their rights to object to, redact or withhold

   5
       any information, including confidential, proprietary, or private information, on any

   6
       other applicable grounds permitted by law, including third-party rights and relevancy.

   7      13.FINAL DISPOSITION
   8         After the final disposition of this Action, as defined in paragraph 4, within 60
   9   days of a written request by the Designating Party, each Receiving Party must return
  10   all Protected Material to the Producing Party or destroy such material. provided that
  11   no party will be required to expunge any system back-up media such as copies of any
  12   computer records or files containing Protected Material which have been created
  13   pursuant to automatic archiving or back-up procedures on secured central storage
  14   servers and which cannot reasonably be expunged, and further provided that any
  15   destruction does not destroy or affect the destroying party’s computer programs,
  16   hardware, software, servers, or the like. As used in this subdivision, “all Protected
  17   Material” includes all copies, abstracts, compilations, summaries, and any other
  18   format reproducing or capturing any of the Protected Material. Whether the Protected
  19   Material is returned or destroyed, the Receiving Party must submit a written
  20   certification to the Producing Party (and, if not the same person or entity, to the
  21   Designating Party) by the 60 day deadline that (1) identifies (by category, where
  22   appropriate) all the Protected Material that was returned or destroyed and (2) affirms
  23
       that the Receiving Party has not retained any copies, abstracts, compilations,
  24
       summaries or any other format reproducing or capturing any of the Protected
  25
       Material. Notwithstanding this provision, Counsel are entitled to retain an archival
  26
       copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
  27
       memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
  28
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   1
                                             EXHIBIT A

   2
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

   3         I, _________________, declare under penalty of perjury that I have read in its
   4   entirety and understand the Stipulated Protective Order that was issued by the United
   5   States District Court for the Central District of California on [date] in the case of
   6   Gold Value International Textile, Inc. v. Edgemine, Inc., et al., Case No.: 2:19-cv-
   7   09603-CBM-AGR. I agree to comply with and to be bound by all the terms of this
   8   Stipulated Protective Order and I understand and acknowledge that failure to so
   9   comply could expose me to sanctions and punishment in the nature of contempt. I
  10   solemnly promise that I will not disclose in any manner any information or item that
  11
       is subject to this Stipulated Protective Order to any person or entity except in strict
  12
       compliance with the provisions of this Order. I further agree to submit to the
  13
       jurisdiction of the United States District Court for the Central District of California
  14
       for the purpose of enforcing the terms of this Stipulated Protective Order, even if
  15
       such enforcement proceedings occur after termination of this action. I hereby appoint
  16
       [full name] of [full address and telephone number] as my California agent for
  17
       service of process in connection with this action or any proceedings related to
  18
       enforcement of this Stipulated Protective Order.
  19

  20
       Date: __________________
  21

  22   City and State where signed:
  23
       Printed name:
  24

  25   Signature:
  26

  27

  28
                                                  - 19 -

                                           PROTECTIVE ORDER
